890 F.2d 1250
    281 U.S.App.D.C. 445
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.NORWEST MORTGAGE INC.v.INTER-CITY MORTGAGE CORPORATION, Appellant.
    No. 88-7052.
    United States Court of Appeals, District of Columbia Circuit.
    Nov. 22, 1989.
    
      Before WALD, Chief Judge, and HARRY T. EDWARDS and SILBERMAN, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This case was considered on the record on appeal from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for a published opinion.  See D.C.Cir.Rule 14(c).  It is
    
    
      2
      ORDERED and ADJUDGED that the district court's order filed January 6, 1988 be affirmed substantially for the reasons stated therein.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after the disposition of any timely petition for rehearing.  See D.C.Cir.Rule 15.
    
    